1     Edward J. Maney
      Chapter 13 Trustee
2     101 N. First Ave., Suite 1775
      Phoenix, Arizona 85003
3     Telephone (602) 277-3776
      ejm@maney13trustee.com
4
                                IN THE UNITED STATES BANKRUPTCY COURT
5                                      FOR THE DISTRICT OF ARIZONA

6     In re:                                            )       CHAPTER 13 PROCEEDINGS
                                                        )
7                                                       )       CASE NO. # 2: 23-bk-08194-DPC
                DAVID P. WOODBRIDGE,                    )
8               MACKENZIE T. WOODBRIDGE,                )       TRUSTEE'S EVALUATION AND
                                                        )       RECOMMENDATION(S) REPORT WITH
9                                                       )       NOTICE OF POTENTIAL DISMISSAL IF
                                                        )       CONDITIONS ARE NOT SATISFIED
10                                                      )       RE: CHAPTER 13 PLAN
                                        (Debtor(s)      )       Docket #15      filed November 15, 2023
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                 Edward J. Maney, Trustee, has analyzed the Debtor(s) Chapter 13 Plan and supporting
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           documents and submits the following evaluation and recommendation(s):
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15    General requirements:

16         a.    Due to the possibility of errors on the claims docket, it is the attorney’s responsibility to review
                 all proofs of claim filed with the Court and resolve any discrepancies between the claims and
17               the Plan prior to submitting any proposed Order Confirming Plan to the Trustee. Please
                 submit a copy of the Court’s Claims Register with any submission of the Order Confirming.
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       b.        Requests by the Trustee for documents and information are not superseded by the filing of an
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                 amended plan or motion for moratorium.
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       c.        The Trustee will object to any reduction in the Plan duration or payout in a proposed Order
21               Confirming Plan unless an amended or modified plan is filed and noticed out.

22     d.        The Debtors are required to provide directly to the Trustee, within 30 days after their filing,
                 copies of their federal and state income tax returns for every year during the duration of the
23               Chapter 13 Plan. This requirement is to be included in any Order Confirming.

24     e.        The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
                 Order shall not constitute an informal proof of claim for any creditor.”
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      f.         The Trustee requires that any proposed Order Confirming Plan state: “Debtor is instructed to
26               remit all payments on or before the stated due date each month. Debtor is advised that when
                 payments are remitted late, additional interest may accrue on secured debts, which may result in
27               a funding shortfall at the end of the Plan term. Any funding shortfall must be cured before the
                 Case can be discharged. This requirement is effective regardless of Plan payments
28               suspensions, waivers or moratoriums, and must be included in any Plan Confirmation Orders.”

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4      g.   At the time of confirmation, the Trustee will require the Debtors to certify that they are current
            on all required tax filings and any domestic support orders.
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       h.   At the time of confirmation, the debtor(s) are required to certify, via language in the Order
6           Confirming, that they are current on all payments that have come due on any Domestic
            Support Orders since the filing of their case and that they are current on all required tax return
7           filings [pursuant to 11 U.S.C. §1308].
8      i.   DEBTORS / DEBTORS’ COUNSEL REMINDER - A letter is to be submitted to the Trustee,
            accompanying any Order Confirming, addressing all issues as they are listed in the Trustee’s
9           Recommendation. In addition, all documents (ex: tax returns, paystubs etc.) submitted to the
            Trustee must be redacted – in compliance with Fed.R.Bankr.P.9037 -- by debtors and/or their
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            counsel.
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      Specific Recommendations:
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17    1.    The proofs of claim filed by LoanCare (mortgage arrears, claim #17, filed January 23, 2024),
            the Internal Revenue Service (priority claim #2, filed November 21, 2023) and the Arizona
18          Department of Revenue (priority claim #1, filed November 17, 2023) differ by classification
            and/or amount from these creditors' treatment under the Plan. To resolve this discrepancy, the
19          Trustee requires either; a) Debtor object to the proof of claim; b) the creditor sign-off on an
            Order Confirming; c) the Order Confirming be altered to pay the creditor pursuant to the Proof
20          of Claim including payment of the contract rate of interest; or d) Debtor file an Amended Plan to
            provide for the creditor's claim as shown by the proof of claim.
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      2.    The Arizona Department of Revenue's proof of claim [#1 dated November 17, 2023 indicates
22          Debtor has not filed income tax returns for 2016. The Trustee requires Debtor to immediately
            prepare and file all unfiled tax returns. Failure to file said returns or the required Affidavit
23          within 30 days from the date of this Trustee's Recommendation and providing a
            stamped copy of said returns may result in the Trustee lodging an Order automatically
24          dismissing Debtor's case.

25    3.    The Trustee requires a completed and signed copy of Debtor(s) entire 2022 State and
            Federal tax returns, W-2’s and 1099’s. The Trustee informs the debtors that should these
26          returns reveal significant tax refunds, if allowed to continue, this would constitute a diversion
            of disposable income. In that case, unless the plan is confirmed at 100% repayment to all
27          creditors the Trustee would require the Debtor(s) adjust payroll tax deductions to prevent
            over- or under-withholding, amend Schedule I increasing Plan payments accordingly and
28          provide two consecutive paystubs to verify this has been corrected or turn over tax refunds
            2023, 2024 and 2025 of the Plan as supplemental Plan payments.
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5     4.     The Trustee requires the debtors supply a copy of statements that reveals the balance on
             hand in all six (6) of their financial/bank accounts on the date of the filing of their case.
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      5.     The Plan proposes payment of debts to Aero Federal Credit Union (2018 Chevy Traverse)
7            and Comenity Bank/Helzberg (jewelry) who have not filed secured proofs of claim. The
             Trustee requires the Debtor(s) to provide verification of any security interest held by the
8            creditor by providing him with a copy of the security documents, such as a security
             agreement, UCC-1, title, deed of trust or the like. Moreover, the Trustee requires that the
9            Order Confirming Plan provide: “The Trustee has authority to pay on the secured debts
             owed to Aero Federal Credit Union and Comenity Bank/Helzberg even though these
10           creditors have not filed a proof of claim, but the Plan and this Order are not an informal
             proof of claim for any creditor.” Alternatively, if the security interest cannot be verified by the
11           Debtor(s), then the Debtor(s) may delete the proposed treatment in a proposed order
             confirming plan:
12           a.      pursuant to the language in Section (C)(5) of the Model Plan;
             b.      after filing a motion and providing 28 days’ notice to the creditor of the intent to delete
13                   the proposed secured treatment from the Plan; or
             c.      by having the creditor, through its agent/representative or legal counsel, sign the order
14                   confirming plan approving the treatment of its claim through the Plan.
15    6.     The Trustee will disburse the mortgage conduit payments beginning December 1, 2023 to
             LoanCare, LLC. The Trustee will disburse the mortgage conduit payments for the duration of
16           the Plan, unless otherwise ordered. For any month when the funds on hand in the case are
17           insufficient to allow the payment of a full conduit payment and any adequate protection
             payments on personal property that has become due, the Trustee will pay the conduit
18           payment on the next disbursement date when the debtor's case has sufficient funds to pay a
             full conduit payment. If the Trustee receives a Notice of Payment Change filed by the creditor,
19           the Trustee will adjust the plan payment amount to reflect the increase or decrease in the
             mortgage payment. The Trustee is authorized to disburse the new mortgage conduit payment
20           without seeking an order of the Court or a modification of the plan. See L.R.B.P. 2084-4.

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              In summary, the Plan can be confirmed subject to the condition(s) noted above, adequate
24    funding, and timely filed Stipulated Order Confirming, and Court approval. The Trustee requires that
      any Stipulated Order Confirming contain the “wet” signatures from the debtors (where
25    applicable), debtors counsel and objecting creditors if there are any.           General unsecured
      creditors (including secured creditors with unsecured deficiency balances) will be paid through the
26    Trustee approximately $37,756 or an estimated 64% of unsecured claims, subject to timely filed and
      allowed claims. Chapter 7 reconciliation requirement must be met given debtors scheduled equity in
27    non-exempt property at petition date. You are hereby advised that the Trustee may lodge an
      Order of Dismissal should Debtor fail to resolve item(s) #2, #3, #4 above and submit a
28    Stipulated Order Confirming to the Trustee for review and signature or request a hearing within
      30 days from the date of the mailing of this Trustee's Recommendation.
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2                                                                              Page #4
      Date See Electronic Signature Block
3
                                                                 EDWARD J. MANEY,
4                                                                CHAPTER 13 TRUSTEE
5

6
                                                                                Digitally signed
7
                                                                Edward          by Edward J.
                                                                                Maney, Esq.
                                                                J. Maney,
8

9                                                                               Date:
10                                                              Esq.            2024.02.12
                                                                                09:58:27 -07'00'
                                                          By:   _______________________________
11                                                               Edward J. Maney ABN 12256
                                                                 CHAPTER 13 TRUSTEE
12                                                               101 North First Ave., Suite 1775
                                                                 Phoenix, Arizona 85003
13                                                               (602) 277-3776
                                                                 ejm@maney13trustee.com
14     Copies of the forgoing
       mailed on [see electronic signature],
15     to the following:
16
       David Woodbridge
17     MacKenzie Woodbridge
       18861 W. Adams Street
18     Buckeye, Arizona 85326
       Debtors
19

20     Thomas A. McAvity, Esq.
       PHOENIX FRESH START
21     4131 Main Street
       Skokie, IL 60076-2780
22     Debtors’ counsel
23

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27         Tom                   Digitally signed by
                                 Tom Bellows

       By: Bellows
                                 Date: 2024.02.12
28                               13:33:55 -07'00'
              Trustee’s Clerk
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